          Uploaded on: 06/03/2025 at 01:07:14 PM (Eastern Daylight
                           Case 1:25-cv-11571-JEK          DocumentTime)13-3
                                                                         Base City:
                                                                               FiledCHE
                                                                                     06/13/25                       Page 1 of 1




                           U.S. DEPARTMENT OF HOMELAND SECURITY                             Warrant for Arrest of Alien


                                                                                                   File No.      226 0 4 0 357
                                                                                                              - --   - -- -
                                                                                                   Date: - - -05/29/2025
                                                                                                               ------
                           To:     Any immigration officer authorized pursuant to sections 236 and 287 of the
                                   Immigration and Nationality Act and part 287 of title 8, Code of Federal
                                   Regulations, to serve warrants of arr est for immigration violations

                           I have detennined that there is probable cause to believe that   oL1vuRA GC»ms, CLEB&R-SON
                           is removable from the United States. This determination is based upon:

                                 D the execution of a charging document to initiate removal proceedings against the subject;

                                 181 the pendency of ongoing removal proceedings against the subject;

                                 0 the failure to establish admissibility subsequent to deferred inspection;

                                 181 biometric confirmation of the subject's identity and a records check of federal
                                 databases that affirmatively indicate, by themselves or in addition to other reliable
                                 information, that the subject either lacks immigration status or notwithstanding such status
                                 is removable under U.S. immigration law; and/or

                                 181 statements made voluntarily by the subject to an immigration officer and/or other
                                 reliable evidence that affirmatively indicate the subject either lacks immigration status or
                                 notwithstanding such status is removable under U.S. immigration law.

                           YOU ARE COMMANDED to arrest and take into custody for removal proceedings under the
                           Immigration and Nationality Act, the above-named alien.


                                                                                 (Signat                  Immigration Officer)



                                                                          (Printed Name and Title of Authorized Immigration Officer)


                                                                   Certificate of Service

                      I hereby certify that the Warrant for Arrest of Alien was served by me at          Burlington , MA
                                                                                                     ---------"-------
                                                                                                            (Location)

                      on    OLIVEIRA GOMES, CLEBERSON            on _ __ _ Ma
                                                                           ___.;yc_2_9_,_ 2_0_2 _s _ _ __ , and the contents of this
                                     (Name of Alien)                          (Date of Service)

                      notice were read to him or her in the _ __ _PO
                                                                   _ R_T_U_GUE
                                                                            _ S_ E_ _ _ _ language.
                                                                         (Language)
EOIR — 1 of 1




                      R 11213 ZAMORA
                      De ortation Officer
                                                                                      Name or Number of Interpreter (1f applicable)

                                                                                                                     Form 1-200 (Re•. 09/16)
